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                                  123170




                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   IN RE: COOK MEDICAL, INC, IVC FILTERS
   MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2570


  This Document Relates to Plaintiff(s)
  Kendra Shemona Stone, as Conservator of the estate
  and person of Anthony Dewayne Stone

   Civil Case # 1:20-cv-02474



                               FIRST AMENDED SHORT FORM
                                       COMPLAINT


          COMES NOW the Plaintiff(s) named below, and for Complaint against the

   Defendants named below, incorporate The Master Complaint in MDL No. 2570 by reference

   (Document 213). Plaintiff(s) further show the court as follows:

          1.    Plaintiff/Deceased Party:
                Anthony Dewayne Stone

          2.    Spousal Plaintiff/Deceased Party’s spouse or other party making loss of

                consortium claim:

                N/A_________________________

          3.    Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
                Kendra Shemona Stone, conservator

          4.    Plaintiff’s/Deceased Party’s state of residence at the time of implant:
                Tennessee

          5.    Plaintiff’s/Deceased Party’s state of residence at the time of injury:
                Tennessee
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         6.    Plaintiff’s/Deceased Party’s current state of residence:
               Tennessee

         7.    District Court and Division in which venue would be proper absent direct filing:

               Western District of Tennessee (Western Division)

         8.    Defendants (Check Defendants against whom Complaint is made):


                          Cook Incorporated

                          Cook Medical LLC

                          William Cook Europe APS

         9.    Basis of Jurisdiction:

                          Diversity of Citizenship

                       □          Other:

               a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
               Paragraphs 6-28



               b. Other allegations of jurisdiction and venue:




         10.   Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a

               claim (Check applicable Inferior Vena Cava Filters):

                           Günther Tulip® Vena Cava Filter

                               Cook Celect® Vena Cava Filter

                       □          Gunther Tulip Mreve

                       □          Cook Celect Platinum

                       □          Other:
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         11. Date of Implantation as to each product:
             On or about January 29, 2019


         12.   Hospital(s) where Plaintiff was implanted (including City and State):
               Regional One Health, Memphis, TN


         13.   Implanting Physician(s):
               Dr. Denny Schoch




         14.   Counts in the Master Complaint brought by Plaintiff(s):

                     Count I:       Strict Products Liability – Failure to Warn

                     Count II:      Strict Products Liability – Design Defect

                     Count III:     Negligence

                     Count IV:      Negligence Per Se

                     Count V:       Breach of Express Warranty

                     Count VI:      Breach of Implied Warranty

                     Count VII:     Violations of Applicable North Carolina Law Prohibiting

                      Consumer Fraud and Unfair and Deceptive Trade Practices

               Count VIII:       Loss of Consortium

               □     Count IX:      Wrongful Death

               □      Count X:       Survival

                     Count XI:      Punitive Damages

               □       Other:        ___________________ (please state the facts supporting

                       this Count in the space, immediately below)

               □       Other:        ___________________ (please state the facts supporting
                       this Count in the space, immediately below)
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         15. Attorney for Plaintiff(s):
             Jon C. Conlin and J. Curt Tanner

         16. Address and bar information for Attorney for Plaintiff(s):

              Jon C. Conlin (ASB-7024-J66C) / J. Curt Tanner (ASB-1041-T80W)
              2131 Magnolia Avenue
              Birmingham, Alabama 35205


       Dated: 8/31/2021                    Respectfully submitted,



                                            /s/ Jon C. Conlin
                                            Jon C. Conlin
                                            J. Curt Tanner
                                            CORY WATSON, P.C.
                                            2131 Magnolia Avenue
                                            Birmingham, Alabama 35205
                                            Phone: 205-328-2200
                                            Fax: 205-326-7896

                                            Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 31, 2021, a copy of the foregoing was served

  electronically and notice of the service of this document will be sent to all parties by operation

  of the Court’s electronic filing system to the CM/ECF participants registered to receive service

  in this matter. Parties may access the filing through the Court’s system.


                                                      /s/ Jon C. Conlin_________________
                                                      Jon C. Conlin
